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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   UNITED STATES OF AMERICA,                  )
                                                )       NO.     CR06-0301L
10                        Plaintiff,            )
                                                )       ORDER GRANTING
11                 v.                           )       STIPULATED MOTION TO
                                                )       CONTINUE TRIAL
12   FRANKIE ROBINSON BUTLER,                   )
                                                )
13                        Defendant.            )
                                                    )
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            This matter comes before the Court on the parties’ “Stipulated Motion to Continue
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     Trial Date.” (Dkt. #26). The Court, having considered the stipulated motion, the records
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     and files herein, including, but not limited to, the defendant’s agreement to extend the
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     time for trial, hereby makes the following findings:
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            1.     The Court finds that a failure to grant the continuance would deny counsel
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     the reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
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            2.     The Court further finds that the ends of justice will be served by ordering a
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     continuance in this case and that a continuance is necessary to insure effective trial
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     preparation and that these factors outweigh the bests interests of the public in a more
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     speedy trial within the meaning of 18 U.S.C. § 3161(h)(8)(A).
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            IT IS THEREFORE ORDERED that the trial date be continued from October 30,
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     2006, to December 4, 2006.
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     ORDER GRANTING STIPULATED
     MOTION TO CONTINUE TRIAL - 1
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 1         IT IS FURTHER ORDERED that the period of time from October 30, 2006, up to
 2   and including the new proposed trial date of December 4, 2006, shall be excludable time
 3   pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161, et. seq.
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 5         DATED this 25th day of October, 2006.
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                                              A
                                              Robert S. Lasnik
 9
                                              United States District Judge

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     ORDER GRANTING STIPULATED
     MOTION TO CONTINUE TRIAL - 2
